      IN THE UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )
     vs.                                  )    No. 10-03069-12-CR-S-RED
                                          )
GEROLD L. THOMPSON, JR.,                  )
                                          )
                     Defendant.           )


                     REPORT AND RECOMMENDATION
                     CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. §636, and has

entered a plea of guilty to Counts One and Fourteen of the Fourth

Superseding   Indictment     filed   on   February     29,     2012.     After

cautioning and examining the Defendant under oath concerning each

of the subjects mentioned in Rule 11, I determined that the guilty

pleas were knowledgeable and voluntary as to each count, and that

the offenses charged are supported by a factual basis for each of

the essential elements of the offenses. I therefore recommend that

the pleas of guilty be accepted and that the Defendant be adjudged

guilty and have sentence imposed accordingly.



Date: November 26, 2012                    /s/ James C. England
                                                 JAMES C. ENGLAND
                                          UNITED STATES MAGISTRATE JUDGE




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                                 NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall
bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28
U.S.C. §636(b)(1)(B).




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